Case 1:22-cv-23699-RKA Document 18 Entered on FLSD Docket 12/21/2022 Page 1 of 1



                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 22-cv-23699-ALTMAN/Reid

  OPPENHEIMER,

         Plaintiff,

  v.

  PANDA IDX, LLC,

        Defendant.
  ________________________________________________/

                                                   ORDER

         On December 19, 2022, the Court held a status conference. See Status Conference Minutes

  Entry [ECF No. 14]. For the reasons stated on the record during the status conference, the Court

  hereby ORDERS AND ADJUDGES as follows:

         1.           This case is STAYED for 30 days.

         2.           The Clerk of Court is directed to CLOSE this case for administrative purposes only.

         3.           By January 19, 2023, the Defendant must file either a notice of appearance by new

                      counsel or a motion for extension of time to comply with this ORDER.

         4.           All pending deadlines and hearings are TERMINATED.

         5.           All pending motions are DENIED as MOOT.

         DONE AND ORDERED in the Southern District of Florida on December 20, 2022.




                                                           _________________________________
                                                           ROY K. ALTMAN
                                                           UNITED STATES DISTRICT JUDGE
  cc:    counsel of record
